Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 1 of 19




                            IBIT
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 2 of 19




Newtek Loan No:                                                     SBA Loan No:                    •5002

NE             EK SMALL BUSINESS FINANCE,INC.
                                                   GENERAL SECURITY AGREEMENT


                                                                                          Datc:atifedi      2010

                 Thc undersigned (herein, whcthcr onc or more in number, referrcd to as "Debtor and
 which, if two or more in number, shall bc jointly and severally bound) with an address as it appcars with
 the signature below, hereby agree(s) in favor of Ncwtek Smal] Business Finance, Inc. having its principal
 office at 1440 Broadway, 17th Floor, New York, Ncw York 10018 (hcrein referred to as "Secured
 Party"), as follows:

                 1 Security Interest.

               (a) Grant of Security. As sccurity for thc Obligations (as defined bclow), Dcbtor hereby
 grants to Securcd Party a first priority security intdreSt in all of Debtor's right, title and interest, whcthcr
 now existing or hereafter arising or acquired in and to any and all items of personal property described on
 Schedule A hereto together with a11 attachments, acccssions and equipment now or hercaftcr affixed
 thereto or used in connection therewith, all snbstitntions and replacements thereof and any products and
 proceeds thereof(the "Collateral").

                  (b)Security for Oblistions. This Security Agrecmcnt secures thc payment of alt now
existing or hereafter arising obligations of Debtor to Secured Party, whether primary or secondary, dircct or
indirect, absolute or contingcnt,joint or scveral, sccured or unsecurcd, duc or not, liquidatcd or unliquidated,
arising by operation of law or otherwise under any promissory note, guarantee, loan or credit agreement,
lctter of credit, draft, acceptance, interest rate or foreign exchange agreement, mortgage or other documcnts
evidencing indebtcdncss whether for principal, interest, fees, expenses or otherwise, togcther with all costs of
collection or enforcement, including, without limitation, reasonable attorneys'fees incurrcd in any collection
efforts or in any action or proceeding (all such obligations bcing the "Obligations"). Without limiting thc
foregoing, the Obligations include all obligations of Debtor in connection with a commercial notc in thc
principal amOunt of $1,531,000.00 madc the date hereof by AWA Fabrication and Construction, L.L.C., an
Alabama limited liability company, and Debtor, in favor ofthe Secured Party (thc "Note").

                (c) Debtor Remains..Liable. This Security Agreement shall not affeet Debtor's liabiltty to
 perform all of its duties and obligations undcr thc transactions giving rise to the Obligations. Thc cxcrcisc
 by Secured Party of any of the rights hercunder shall not release Debtor .from any of its dutics or
 obligations undcr the transactions giving rise to the Obligations, which shall rcmain unchangcd as if this
 Security Agreement had not been executed. Secured Party shall not have any obligation or liability under
 the transActierts giving rise to the Obligations by reason of this Security Agreement, nor shall Sccurcd
 Party be obligated to perform any ofthe obligations or dutics of Dcbtor thereunder or to take any action to
 collect or enforcc any claim for payment assigned hcrcundcr.

                 (d) Continuing Agreemcnt. This Security Agrecment shall create a continuing security
 interest in the Collateral and shall remain in full forcc and cffect until paymcnt in full of thc Obligations.
    Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 3 of 19




                2. Debtor's Title; Liens and Encumbrances.

                Debtor represents and warrants that Dcbtor is, or to thc extent that this Security Agreement
states that the Collateral is to be acquired after thc date hereof, will be, the owner ofthe Collateral, having
good and marketable title thereto, free from any and all liens, security interests, encumbrances and claims,
except as set forth on Schedule B annexed hereto. Debtor will not create, assume or permit to cxist any
such lien, security interest, encumbrance or claim on or against the Collateral except as permitted by this
Security Agreement, and Dcbtor will promptly notify Sccured Party of any such other claim, lien, security
interest or other encumbrance made or asserted against the Collateral and will defend the Collatcral
against any such claim, lien, security interest or other encumbrance.

                3 Representations and Warranties;
                Location of Collateral and Records;
                Business and Trade Names of Debtor.

               (a) Debtor represents and warrants to Sccured Party as follows. Dcbtor has no placc of
business, offices where Debtor's books of account and records are kcpt, or places whcrc the Collateral is
used, stored or located, except as sct forth on Schedulc C annexed hereto. Debtor shall promptly notify
Secured Party of any change in thc foregoing representation. Debtor shall at all times maintain its records
as to the Collateral at its chief place of business at the address referred to on Schedule C and at nonc
other. Debtor further covenants that, except for Collateral delivered to Secured Pa.rty or an agent for
Secured Party, Debtor will not store, use or locate any ofthc Collateral at any place other than as listed on
Schedule C annexed hereto. Annexed as ExtUbits to Schedule C hereto are true and complete copics of
each current lease under which Debtor uses each such place to store, use or locate any of the Collateral,
and the term including any option in favor of Debtor, of each such lease cnds not less than thrce years
after the term ofthe Loan secured hereby.

               (b) Debtor currently uscs, and during the last five years has used, no business or trade
names, exccpt as set forth on Schedule C annexed hereto. Debtor shall promptly notify Secured Party, in
sufficient detail, of any changcs in, additions to, or deletions from the business or trade names used by
Debtor for billing purposes.

              (c) The Collateral is now and will be used in Debtor's business and not for personal,
family, household or farming usc.

               (d) Dcbtor has paid and will continue to pay or otherwise provide for the payment when
due, of all taxes, asscssmcnts or contributions requircd by law which have been or may be assesscd or
levied against Debtor, whether with respcct to any of the Collateral, to any Wages or salaries paid by
Debtor, or otherwise, and will deliver satisfactory proof ofsuch payment to Secured Party on demand.

                (e) The grant of the security interest in the Collateral is effective to vcst in Secured Partv a
valid first priority security interest, superior to thc rights ofany person in and to the Collateral as sct forth
herein, except to the extent set forth on Schedule B hereto.

               4 Perfection of Security Interest.

               Debtor shall to the extent necessary, if at a11 cxecute all such financing statements pursuant
to the Uniform Commercial Code or other noticcs appropriate under applicable law, including the Federal
Assignment of Claims Act and any state motor vehicles registration statute, as Secured Party may require,
each in form satisfactory to Secured Party. Debtor also shall pay all filing or recording costs with respect
                                                     -2-
     Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 4 of 19



thereto, and all costs of filing or recording this Security Agreement or any othcr agreement or document
executed and delivered purSuant hercto or to thc Obligations (including thc cost of all federal, state or
local rnortgage, documentary, stamp or other taxts), in each case, in all public offices where filing or
recording is deemed by Secured Party to bc necessary or desirable. Dcbtor authorizes Sccurcd Party to (i)
file any LInifOrrn Commercial Code financing statements or amcndmcnts thercto without thc signaturc of
Debtor or by signing of Dcbtor's namc to any such financing statements as its attorney-in7faCt,(ii) file a
photographic or othcr reproduction of this Security Agrccment as a financing statement, (iii) file noticcs
of assignment pursuant to thc Federal Assignmcnt of Claims Act,(iv) file applications for certificates of
title or (v) takc all othcr action which Secured Party mav dcem necessary or desirablc to perfcct or
otherwise protect the licns and security intcrcsts created hereunder and to obtain thc benefits of this
Security Agreemcnt.

               4A. SBA 7A Program Provision.

              The Note Made by AWA Fabrication and Construction, L.L.C., thc Debtor, in favor of thc
Secured Pariy evidences a loan madc by thc Sccured Party to such borrowcr in the principal amount of
$1,531,000.00 (the "Loan"). The Loan sccurcd by thc licn made hercin was made undcr a United Statcs
Small BUSineSs Administration ("SBA") nationwide program which uscs taz dollars to assist small
business owners. If thc United States is seeking to cnforcc this security agreement, thcn, under SBA
rcgulations:

                   (a) When SBA is holdcr of thc Notc, this documcnt and all documents evidencing or
securing the Loan will bc construed in accordance with federal law.

                    (b) Lender or SBA may usc Iocal or state procedures for purposcs such as filing
papers, rccording documents, giving notice, foreclosing liens, and other purposes. By using thesc
procedures, SBA does not waivc any federal immunity from local or state control, penalty, tax or liability.
Neither the Borrowcr nor any Guarantor, including, without limitation, any Debtor, may claim or asscrt
against SBA anv local or state law to dcnv any obligation of Borrower or any Guarantor, including any
Debtor, or defeat any claim of SBA with respect to thc Loan.

Any clause in this security agreenient that rcquires arbitration is not cnforccable when SBA is the holder
ofthe Note secured by this Security Agreement.

               5. General Covenants.

               Dcbtor shall:

              (a) furnish Secured Party from time to timc, at Secured Party's request, lArritten statements
and schedules furthcr identifying and describing the Collatcral in such dctail as Secured Party rnay
rcasonably rcquire;

               (b) advise Secured Party promptly, in sufficient detail, of any substantial changc in thc
Collateral or of the occurrence of any event which would affect the value of the Collateral or Secured
Party's secnrity interest therein;

               (c) comply with all acts, rules, regulations and orders of any legislativc, administrative or
judicial body or official applicable to Dcbtor or any Collateral or tc) the operation of Debtor's business
except wherc thc failure to comply (i) is non-material and (ii) has no effcct on the valuc of the Collateral
or on the ability of Sectred Party to cxcrcise its rights and remedies hereunder,
                                                   -3-
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 5 of 19




                  (d) perform and observe all covenants, restrictions and conditions contained in any
  agreement or document executed in connection with the Obligations as though the same were fully set
  forth in this Security Agreernent;

              (e) promptly exccutc and deliver to Secured Party such further agreements or othcr
instruments and take such further action from time to time as Securcd Party may deem neccssarv to perfect,
protect or enforce its security interests in the Collateral or otherwise to effect the intcnt of this Security
Agreement;

             (f) kecp or cause to be kept the Collateral in good working order and marketable condition,
ordinary wear and tear excepted;

              (g) insure the Collateral against loss or damage by fire or other hazards, and eXtended
coverage, theft, burglary, bodily injury and such other risks, with such companies and in such amounts, as is
required by Secured Party at any time;

               (h) use the Collateral for laWftil purposcs only in conformity with all laws, rules and
regulations;

               (i) allow Seenred Party and its agents, at all reasonablc timcs and for reasonablc durations, to
inspect any of the Collatcral and to examine and makc extracts from Debtor's books and records relating to
thc Collateral; and

               (j) not assign, sell, mortgage, lease, transfer, pledge, grant a security intcrest in or lien upon,
encumber or otherwise dispose of or abanden, any part or all of the Collateral, without the express prior
vvritten consent of Secured Party, except for the sale from time to time in the ordinary course of business of
Debtor of such items of Collateral as may constitute part ofthe business inventory of Debtor.

                6. Assignment of Insurance.

                At or prior to the date hereof, Debtor shall deliver to Secured Party certificates of the issuing
companies with respect to all policies of insurance owned by Debtor covering or in any manner relating to
the Collateral, in form and substance satisfactory to Secured Party, naming Secured Party as an additional
insured party as its interests may appear with respect to liability coverage and as loss payee with respect to
property and extended insurance coverage, and indicating that no such Obey will be terminated, or reduced
in coverage or arnount, without at least thirty (30) days prior written antice from the insurer to Secured Party.
Debtor hereby assigns to Secured Party all slims, including returned or unearned premiums, which may
beconie payable under or in respect of any such policy of insurance, and Debtor hereby directs each
insurance company issuing any such policy to make payment of sums directly to Secured Party. Debtor
hereby appoints Secured Party as Debtor's attorney-in-fact with authority to endorse any check or draft
representing anv such payment and to execute any proof of claim, subrogation receipt and anv other
document required by such insurance company as a condition to or otherwise in connection with such
payment, and upon the occurrence of any Event of Default, ta cancel, assign or surrender any such policies.
All such sums receivcd by Secured Party shall be applied by Secured Party to satisfaction of the Obligations
or, to the extent that such sums represent Unearned premiums in respect of any policy of insurance on thc
Collateral refunded by reason Ofcancellation, toward payment for similar insurance protecting thc respective
interestS of Debtor and Secured Party,- or as otherwise required by applicable law.



                                                       4
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 6 of 19




                 7. Fixtures.

                Except to the extent that fixtures are included in the description of thc Collateral in Schedule
A hereto, it is the intent of Dcbtor and Secured Party that none of the Collateral is or shall be rcgardcd as
fixtures, as that WM is used or defined in Articic 9 of the Uniform Commercial Code, and Debtor represents
and warrants that it has not made and is not bound by any lease or other agreement which is inconsistcnt with
such intent. Nevertheless, if the Collateral or any part thereof deemed matcrial by Securcd Party is or is to
become attached or affixed to any real estate, Debtor will, upon request, furnish Secured Party with a
disclaimer or subordination in form satisfactory to Secured Party of the holder of any intcrest in the real
estate to which the Collateral is attached or affixed, together with the names and addresses of the rccord
owners of, and all other persons having interest in, and a gencral description of, such real cstate.

                 8. Collections.

               (a) Except as provided herein, Debtor may collect a11 checks, drafts, cash or othcr remittances
(i) in payment of any of its accounts, contract rights or general intangibles constituting part of the Collateral,
(ii) in payment of any Collateral sold, transferred, leased or otherwise disposed of, or (iii) in payment of or in
account of its accounts, contracts, notes, drafts, acceptanccs and all othcr forms of obligations rclating to any
of the Collateral so sold, transfcrred, or leascd or otherwise disposed of. A11 of the foregoing amounts so
collected after the occurrence of an Event of Default shall bc hcld in trust by Debtor for and as the property
of Secured Party, and shall not be commingled with other funds, money or property of Debtor.

              (b) Upon the request of Secured Party, Debtor will immediately upon receipt of all such
checks, drafts, cash or other rcmittances in payment of anv of its accounts, contract rights or general
intangibles constituting part of the Collateral or in payment for any Collateral sold, transferred, leascd or
otherwise disposed of, deliver any such items to Secured Party accompanied by a remittance report in form
supplied or approvcd by Secured Party. Dcbtor shall deliver such items in the same form rcceivcd, endorsed
or otherwise assigned by Dcbtor where necessary to permit collection ofsuch items.

                (c) Upon the requcst of Secured Party, Debtor will promptly notify Sccured Party in writing of
the return or rejection of anv goods represented by any accounts, contract rights or gcncral intangiblcs and
Debtor shall forthwith account therefor to Secured Partv in cash without demand or notice. Until such
payment has been received by Secured Partv, Debtor will receive and hold a11 such goods separate and apart,
in trust for and subject to the security interest in favor of Secured Party, and Securcd Party is authorized to
sell, for Debtor's account and at Debtor's sole risk, all or any part of such goods.

               (d) In its discretion, Sccured Party may, upon the occurrence of an Event of Dcfault, in its
name or Debtor's or otherwise, notify any account debtor or obligor of any account, contract instrument
chattel paper or general intangible included in the Collateral to make paymcnt to Secured Party.

             (e) All of the foregoing remittances shall be applied and credited by Secured Parry in
accordance with the provisions of Section 10(c)ofthis Security Agreement.

                 9. Events of Default.

               The occurrence of any one or more of the following cvents shall conStitute an cvcnt of default
("Event of Default") by Debtor under this Security Agreernent (a) if a "Default" or "Event of Default" shall
occur under the terms of any agreement giving rise to or executed in connection With the Obligations;(b) if
at any tirne Secured Party shall, in its reasonable discretion, consider the Obligations insecure or any part of
the Collateral unsafc, insecure or insufficient, and Dcbtor shall not on demand fumish othcr collateral or
                                                      -5-
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 7 of 19



 make paymcnt on account, reasonably satisfactory to Sccurcd Party; (c) if Dcbtor or anv obligor, guarantor
of or anv party to anv of the Obligations or thc Collateral (the same, including Debtor, bcing collcctivclv
 referred to herein as "Obligors") shall default in the punctual payment of any sum payable with respect to, or
in the observance or performance of anv of the terms and conditions of, any ObligationS or of this Security
 Agreement or any other agrccmcnt bctwccn any Obligor and Secured Party; (d) if any Awranty or
representation made to Secured Party by or on behalf of any Obligor is falsc or mislcading in any matcrial
respect;(e) in the cvent of loss, theft, substantial damage to or destruction of any portion of thc Collateral
deemed material by Securcd Party, or the making or filing of any lien, levy, or cxecution on, or seizure,
attachMent or garnishinent of, any of thc Collateral;(f) if any of the Obligors being a natural person or any
general partner or member of an Obligor which is a partnership or a limited liability company, shall die or
(being a partnership, limited liability company or corporation) shall bc dissolved, or if any ofthe Obligors (if
an ennty) shall fail to maintain its existence in good Standing-, (g) if any of thc Obligors shall become
insolvent (however defincd or cvidcnced) or makc an asSigninent for thc benefit of creditors, or make or send
notice of an intended bulk transfer, or if there shall bc convened a meeting of the creditors or principal
crcditors of any of the Obligors or if a committee of crcditors is appointed for any of thcm;(h) if there shall
be filed by or against any of the Obligors any petition for any relief under thc bankniptcy laws of thc Unitcd
States now or hereafter in effect or under any insolvency, rcadjustmcnt of debt, dissolution or liquidation law
or statute ofany jurisdiction now or hereafter in effeet (whanOr at law or in equity); (i) if the usual businesS
of any of the Obligors shall bc terminated or suspended; (j) if any proceedings; procedure or rcmcdy
supplementary to or in enforcement ofjudgment shall be commenced against, or with respect to any property
of, any of the Obligors; or (k) if any petition or application to any court or tribunal, at law or in equity, bc
filed by or against any of thc Obligors for thc appointment of any receiver or trustcc for any of the Obligors
or any part of the property of any of thern.

                 1 O. Right's.and_Remedies.

               (a)In the event of the occurrence and continuance of any Event of Default, Secured Party shal l
at any time thercafter have thc right, with or without (to thc cxtent permittcd by applicablc laW) notice to
Debtor, as to any or all of the Collateral, by any availablc judicial procedure or without judicial process, to
take possession of the Collateral and without liability for trespass to enter any premiscs whcrc the Collatcral
may be located for the purpose of taking possession of or rcmoving the Collateral, and generally to exercise
any and all rights afforded to a secured party under the Uniform Commercial Code or other applicable law.
Without limiting the generalitv of the foregoing, Debtor agrees that Securcd Party shall havc thc right to sell,
leaSe, or otherwisc dispose of all or anv part of the Collateral, whcthcr in its thcn condition or after further
preparation or processing, either at public or private salc or at any broker's board, in lots or in bulk, for cash
or for eredit; with or without Warranties or representations, arid upon such terms and cdnditions, all as
Secured Party in its sole discretion may deem advi$ablc, and Securcd Party shall have the right to purchase at
any such salc; and, if any Collateral shall require rebuilding, rcpairing, maintenance, prcparation, or is in
process or other unfinished state, Secured Party shall have the right, at its sole option and discretion, and at
Debtor's sole cost and expcnse, to do such rcbuilding, repairing, preparation, processing or completion of
manufacturing, for the purpose of putting thc Collateral in such saleable or disposable form as it shall dccm
appropriate. At Secured Partys request after any Evcnt of Default, Debtor shall assemble thc Collatcral and
make it available to Sccurcd Party at places which Secured Party shall select, whcthcr at Debtor's premises or
elsewhere, and make availablc to Secured Party, without rent, all of Debtor's prerniSes and facilitics for the
purpose of Secured Party's taking possession of, removing or putting thc Collateral in saleablc or disposable
form. If any of thc Collateral consists of Motor vehicles, Sccurcd Party mav usc Debtor's license plates, in
any lawful manncr.

             (b). A.ny such salc, lease or othcr disposition of Collateral may bc made without dcmand for
performance or any notice of advertiscment whatsoever except that where an applicablc statutc requires
                                                      -6-
     Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 8 of 19




reasonablc notice of sale or other disposition, Debtor agrees that thc scnding of fivc days noticc by ordinary
rnail, postage prepaid, to Debtor of thc place and time of any public sale or of thc timc at which any private
sale or other intended disposition is to be made, shall bc deemed reasonable notice thercof. Notwithstanding
the foregoing, if any of the Collatcral is perishable and may be materially diminishcd in value during such
five day period, Secured Party shall provide Debtor with such shorter notice as it deems reasonable undcr thc
circumstances.

                (c) The proceeds of any such sale, leak or other disposition of thc Collateral shall bc applicd
first to the expenses of rctaking, holding, storing, processing and preparing for sale, selling, and thc like, and
to the reasonable attorneys' fecs and legal expcnscs incurred by Sccurcd Party, and then to satisfaction of thc
Obligations, and to the payment of any other amounts required by applicable law, after which Secured Party
shall account to Debtor for any surplus proceeds. If, upon the sale, lease or other disposition of thc
Collateral, the proceeds thereof are insufficient to pay all amounts to which Secured Party is legally entitled,
Debtor will be liable for thc deficiency, together with interest thcrcon, at the ratc prcscribed in thc
agreements giving rise to the Obligations, and the rcasonable fees of any attorncys employed by Securcd
Party to coiled Stich deficiency. To the extent permitted by applicablc law, Debtor waives all claims,
darnages and demands against Secured Party arising out of the repossession, removal, retention or salc ofthc
Collateral, except to the extent same is caused by the gross negligence or willful misconduct of Sectred
Party, its agents or employees.

                 1 1 Costs and Expenses.

               Any and all fees, costs and expenses, of whatever kind or nature, including the reasonable
attorneys' fees and legal eXpenses incurred by Securcd Party, in connection with the filing or rccording of
financing statements and other documents (including all taxes in connection therewith) in public offices, the
payment or discharge of anv takes., insurance premiUmS, encumbrances or otherwise protecting, maintaining
or preserving the Collateral and Secured Party's security interest therein, or in defending or prosecuting any
actions or proceedings arising out of or related to the transaction to which this Security Agrecment rclates,
shall be paid by Debtor on demand. Until so paid, a11 such amounts shall be addcd to thc principal amount of
the Obligations and shall bear interest at the rate prescribed in the agreements giving rise to the Obligations.

                 1 2. Power of Attorney.

                Debtor authorizes Sccured Party and does hereby makc, constitute and appoint Secitted Party,
and any officer or agcnt of Secured Party, with full power of substitution, as Debtor's true and lawful
attorney-in-fact, with power, in its own name or in the name of Debtor, to do any of the following upon and
after the occurrence of any Event of Default:(a)to endorse any notes, checks, drafts, monev ordcrs, or other
instruments of payment (incltiding payments pavable under or in respcct of any policy of insurance) in
respect of the Collateral that may come into posscssion of Secured Party;(b) to sign and cndorse any invoice.
freight or express bill, bill of lading, storagc or warehousc reccipts, drafts against debtors, assignmcnts,
verifications and notices in connection withaccounts, and Other documents relating te ColLateral.,(c) to pay
or disch.arge any taxes, liens, secunty interest or other encumbra.nces at any time levied or placed on or
threatened against the Collateral;(d) to demand, collect, receipt for, compromise, settle and sue for monics
due in respect ofthe Collateral;(e) to receive, open and disposc of all mail addressed to Dcbtor and te notify
the Post Office authoritics to change the address for delivery of mail addressed to Debtor to such address as
Secured Party may designate; and (f) gcnerally to do all acts and things which Sectired Party deems
necessary to proteet, preserve and realize upon the Collateral and Sccurcd Party's security interest therein.
Debtor hereby approves and ratifies all acts of said attornev or designee, who shall not bc liable for any acts
of commission or omission, nor for any error or judgment or mistake of fact or law except for its own gross

                                                     - 7-
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 9 of 19




negligence or willful miseonthict. Thit power of attorney shall be irrevocable for thc tcrm of this Security
Agreement and thereafter as long as any of the Obligations shall be outstanding.

                 13. Notices.

               Unless the party to be notified otherwise notifies the other party in writing as provided in this
Section, notices shall. be given hereundcr by telecopy, by Certified mail or by recognized overnight delivery
services to Debtor at its address on the signature page of this Security Agreement and to SecUrecl pw-cy, as
follows:

               Newtek Small Business Finance, Inc.
               1440 Broadway, 17th Floor
               New York, New York 10018
               Attenfion: Operations Manager

                Notices shall be effective (a) if giVen by certified mail, on the third day after dcposit in the
mails with postage prepaid, addressed as aforesaid;(b) if given by recognizcd ovcrnight delivery service, on
the business day following deposit with such service, addressed as aforesaid; or (c) if givcn by telecopy,
when the telecopy is transmitted to the telecopy number as aforesaid; provided that all noticcs to Sccurcd
Party shall be effective on receipt.

                 14. Other Security.

                 To the extent that the Obligations are now or hereafter secured by property other than thc
Collateral or by thc guarantee, endorsement or property of any other person, then Secured Party shall have
the right in its sole discretion to pursue; relinquish, subordinate, modify or takc any other action with respect
thereto, without in any way modifying or affecting any of Secured Party's rights and remedies hereunder.

                 15. Further Sectritý.

               To further secure the Obligations, Debtor hereby grants, pledges and assigns to Secured Party
a continuing lien on, security interest in and rightt of set-off in all money, securities and other property of
Debtor, and the prOceeds thereof, how or here-after actually or constructively held or received by or for
Secured Party or any affiliate of Secured Party. Debtor hereby authorizes Secured Party to deliver a copy of
this Agreement to others as written notification of Debtor's transfer of a security interest in the foregoing
property. Upon and after any Event of Default, Secured Party is hercby authorized at any time and from timc
to time, without notice, to apply all or part ofsuch moneys; securities, prOperty, proceeds, dcposits or crcdits
to anv of the Obligations in such amounts as Secured Party may elect in its sole and absolute discretion,
although the Obligations may then be contingent or unmaturcd and whether or not the collateral sccurity may
be deemed adequate.

                 16. Miscellaneous.

               (a) Beyond the safe custody thereof, Sccurcd Party shall havc no duty as to the collcction of
any Collateral in its possession or control or in the possession or control of any agent or nominee of Secured
Party, or any income thereon or as to the preservation of rights against prior parties or any othcr rights
pertaining thereto.

              (b) No course of dealing between Dcbtor and Seeurcd. Party, or Secured Party's failurc to
exercise or delay in cxercising any right, power or privilege hereunder shall operate as a waiver thereof. Any
                                                     -8-
     Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 10 of 19




single or partial excrcise of any right, power or privilcgc hereunder shall not preclude any othcr or furthcr
exercise thereof or the exercise of any other right, power or privilege.

              (c) A11 of Secured Party's rights and remedies with respect to the Collateral, whcthcr
established hereby or by any other agreements, instruments or documents or by law, shall be cumulative and
may be exercised singly or concurrently.

              (d) This Security Agreement may be amended or modified, and a provision hereof may be
waived, only by a writing signed by all ofthc parties hereto.

               (e) The proviSions of this Security Agreement arc severable, and if any clause or provision
shall be hcld invalid or uncnforceablc in whole. or in part in any jurisdiction, then such invalidity or
unenforceabihty shall affect onlv such clause or provision, or part thereof in. Such junsdiction and shall not
in any manner affect Such clause or provision in any other jurisdiction, or any other clause or provision of
this Security Agreement in any jurisdiction.

              (f) The benefits of this Security Agreement shall inure to the benefit of the successors and
assigns of Secured Party. The rights and obligations of Debtor undcr this Security Agreement shall not be
assigned or delegated without thc prior consent of Securcd Party.

          (g) THIS AGREEMENT SHALL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, WITHOUT REGARD TO ITS
CONFLICTS OF LAWS PRINCIPLES.

               (h) Dcbtor hereby irrevocably consents to the jurisdiction of the courts of the State of NeW,
York and of any Fedcral Court located in such State in connection with any action or procccding arising out
of or rclating to the Obligations, this Security Agreement or the Collateral, or any document or instrument
delivered with respect to any of the Obligations. Debtor hereby Waives personal service of any summons,
complaint or other protess in connection with any such action or procceding and agrees that the service
thereof may bc made by certified niail directed to Debtor at the address provided herein for receipt of notices.
Debtor so served shall appear or answer to such surnmons, coMplaint or other process within ihirty days after
the mailing thereof. Should Debtor so scrvcd fail to appear or answer within said thirty-day period, Debtor
shall be deemed in default and judgment may be cntcred by Secured Party against Debtor for thc amount or
such other relief as may bc demanded in any summons, complaint or other process so servcd. In the
alternative, in its discretion Secured Party may effect service upon Debtor in any other form or manncr
permitted by law.

          (i) IN THE EVENT OF ANY LITIGATION RELATING TO THIS AGREEMENT OR THE
OBLIGATIONS, DEBTOR WANES ANY AND ALL RIGHTS TO A TRIAL BY JURY.

               IN WITNESS WHEREOF, each Debtor has executed or caused its duly authorizcd officer, on
Debtor's behalf, to execute, this Agreement as of the day and year first written above.

                                                 AWA F                    Con


                                                           w WayneArms ong, Mem

                                                 By:       ati/e0-1e-iCae--
                                                    La     nce Armstrong, Member
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Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 11 of 19




                              Debtor's Address:

                              811 Countv Road 99
                              Headland, Alabama 36345




                               - 10 -
      Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 12 of 19




          SCHEDULE A TO GENERAL SECURITY AGREEMENT DATED          ,2009
               MADE BY AWA.FABRICATION AND  CONSTRUCTION, L.L.C.,
                IN FAVOR OF NEWTEK SMALL BUSINESS FINANCE,INC.

1. The following asscts of AWA Fabrication and Construction, L.L.C.,arc thc sithject of th.e General Sccurity
Agreement to which this Schedule A is annexed.

 ALL ASSETS

               A11 personal property of Dcbtor, now owned and hereafter acquired, of every kind and
               dcscription, including, without limitation, all inventory, equipment fixtures, accounts, chattcl
               paper, contract rights, instruments, doeuments and general intangibles, and all products and
               proceeds thercof.

 ALL INVENTORY

               All of Debtor's now existing and hereafter acquired inventory, of every kind and naturc,
               wherever located, inchiding, without limitation, all raw materials, finished goods, work-in-
               process, packing and advertising materials, all documents oftitle, whether negotiable or
               nonnegotiable, representing any ofthe foregOing and all products and proceeds thereof.

 ALL ACCOUNTS RECEIVABLE

               A11 now existing and hereafter acquired or created accounts together with the Debtor's interest
               in all inventory described in invoices with respect to such accounts; all returned and
               repossessed inventory; and all now existing and hereafter acquired or crcated contraet rights,
               instruments, chattel paper and general intangibles wherever located including, without
               limitation, all of the foregoing which arise in connection with thc sale of inventory and/or the
               rendition of services.

 ALL EQUIPMENT

               A11 of Debtor's now owned and hercafter acquired machinery, equipment, furniture and
               fiktOes w.herever located, and all additions, accessions, substitutions, replacements, parts and
               fuel to or for the same, and supplies used or to be used in anincetion thcrewith and all
               products and proceeds thereof. Such machinery, equipment, furniture and fixtures are morc
               particularly identificd on Exhibit A-I hereto, with description a.nd scrial number, if applicable,
               of each item with a unit value of$500 or morc.

 ALL ACCOUNTS

               A11 now existing and hereafter acquired or created accounts together with the Debtor's interest
               in all inventory described in invoices with respect to such accounts; all returned and
               repossessed inventory, and all existing and hereafter acquired or created contract rights,
               instruments, chattel paper and general intangibles including, without limitation, all of thc
               foregoing which arise in connection with the salc ofinventory and/or thc rendition of serviccs.
Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 13 of 19



                                   EXHIBIT A-1



            Itemized List of Machinerv. Equipment. Furniture and Fixtures
Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 14 of 19



                                    AWA Fabrication and Construction, I.,.I-C. $11
                                        County Road 99.Headland,AI.3634S
                                             Phone No.(334)693.0516
                                              Fax No.(334)6934581
                                                 ww%tr.awafah..com


August 13, 2009


AWA Equipment and Inventon,
Material Handling Equipment
Case III 5240(4 Wheel Drive)Tractor wt Bushog Front-end Loader SIN DTI019373 .5.,000 00
2002 Komatsu Ra5T-12 Foridit SN 58883A 514,500.00
1999 Komatsu FG3OHT-17.Forklift SIN 516923A $14,500,00
199$ Komatsu FG25T-12 Fetid& VIII 03400A $13,500.00
2001 Ingersoll Rand VR6428 Variable Reach Forkait $52,870 00(GE Capital $10,457,00)
2002 Ingersoll Rand \TRIO.% Variable Reach Forklift $62,500,00(GE Capital $19,906.00)
Cvnie GS-3246 Scissor Lift S20.000,00
3 Tom(AWA Bulk)Overhead Crane(50ft stretch with crane rads) $25,000.00
1Ton(AWA Built) Crane S4,500.00

Fabrication Equipment
CincinnatiShear Model ezsI2 Sfhl 34897 $30,000.00
Pacific Brake Model ii.I-225-14 S/N 8758 $30,000.00
L4W425-14 FAIRWAY Die $3,785.00
BA2-14 Die Holder w/ TrNet Height 532,375.00
G9-14 GooseneckPuncit $2,580.00
06-8 Punch $635.00
Finger Break ModeliBB-4816 SIN 876 $1,000.00
Bertsch 1211 ?brie Bending Roll Mode1.9 SANI 395-02 $32,5().0.00
Geka Ironworker made /tyranny SOS SiN 6876 $14,000.00
H3rD30-20-0 Tube Notching Attachment sI,335.co
HUM Model.Cyclone.Manual Bandar:Po SIN 946806 517,300.00
Viper Horizontal Handsaw Mode13302 SIN 19338 $9,650.00
Northern Tool 40 Ton Shop Press SIN 13741 5900.00
Grialy Variable Speed Vertical Milling Machine Model XL/6325G SIN 442285 $6,500.00
Enco Variable Speed Vertical Milling Machine SIN 11607 $1,500.00
liortgen-Ogura Electro-Hydraulic Hate Puncher 75005 SW. 150283 $4.250.00
arming Colchester 5- Lathe skomoo
Central.Machinery 20"Disc Sander/Grinder. vi./ Stand and Tilt Table SJN 45725 $1,200.(l0
RDB-150-AS TubeiFipe Benda Autostop and Dies S7,800,00
W.A. Whitney-Esterline ltdodel 792A MBL CNC Beandine tr. Max Beam size(3) 100Ton
Puticites-Modcl 793-421 (Flanges and Web} 1       Stroke on all three Punches r Max Material
Thickness 1 1/4* Round -Max Hole FahMax 11 CNC Control 45'tong s.40' Wide Powered
Infeed Conveyar 45'Powered Outfeed Conveyor S/N 793421-3367 astorted punches $75,000.00

                                                                                     Page #1
Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 15 of 19



 Air Compressors
Ingerso11 Rand Portabk Air Compressor AirSourc*Plus SN 363059UUPB02 56,500.00
logersoll Rand Portable Air Compressor Model P-185B-W-JD SIN 17247U88 329 54,500:00
WorldAire 10HP Air Compressor Model 1&r103-12011 SIN 1006104603T $1,850.00
WorIdAire 10HP Air Conipressor Model W103-120H SiN 1205104603T S1,850.00
Quincy SHP Air Compressor Model 253DSOVCC00065 SIN 20051216-0136 51,800.00
Sullair Air Compreesor Model LS-10 SiN 003-108645 wi 600gal. Tank $5,50000


 Welding_ and Cutting Equipment
Liucoln Itanger 250(Propane)SiN U1060505685 $3,600.00
Lincoln Ranger 250(Gasoline) SiINI U1041114721 52500_00
Lincoln Ranger 250(Gimoline) trailer SIN U1050414052 $5.000.00
Lincoln Ranger 25i/(Gasoline) wI trate StN U10506277399 $5,000.00
Lincoln 10-LX(Diesel)w/ trailer SIN U1931217909 $5.500.00
Lincoln Ranger 10(Gasorme) SIN U1040323453 $2,000.00
miljerBolzat 225NT(risolirmi wi tmiler SIN 1, ./51105 $4,500.00
Miner Milkman* 251 Wire Welder SiNIF269059 $1,500.00
Miller Kinematic.251 Wire Weider SIN:LI-1060226B $1,500.00
Miler hallermatit 251 Wire Welder S/N.LCx391516B $1,50000
Miller Onerreatie 251 Wire Welder SIN LF510037B $1,500j30
Miller lalennatic 251 Wire Welder SIN LG211659B $1,500.00
        Kinematic 251 Wire Welder SIN.L0211660B $1.500.00
        Wierrnatie 251 Wire Welder SiN LE471933 $1,500.00
NSW lvfillermatic       Wire Welder SIN 51,890,00
Miller Minermatic 252 Wire Welder SIN 51,890:00
Miller CP-302 wI 22A SIN Wire Feed $2,600.00
Miller CP-302 w/22A SIN Wire-Feed $2;600.00
Miler Dimension NT 450 w/ 70Series Wire FeedS3.600.00
        Syn=owave 250 DX Tig Welder SIN LE4g7424 S2,500.00
        CP-2SOTS Wire Welder SiN1311003190 5500.00
,veler MaxStar 200 Welder       LE370413 $000.00
Nfiller SRH-303.Power Souree SIN 1550841 SS00.00
/41/er SRH-222 Power Source SiN 3E759806 $50000
Hobart MegaMig MOM Wire Welder SiN 9OWS03175 5550.00
PowCon 300 Power Source SIN SM275124 S500.00
PowColi 300 Power Source SIN SM582513 5500.00
Miller MLA Air Cooled Wire Feeder SRI KE723567 52,000.00
Cobraniatic Wire Feeder. SIN 27369Fgg 5300,00
Miller Ractuttor-1 Cooling System Style      SAC-NIA 5500.00
Lincoln LN-23 Wire Welder SIN U1990112063 5600.00
Lincoln LN-2S. Wirt Welder SIN U1990112060 5600.00
Lincoln LN-25 Wire Welder SIN 145614$ 5600.00
Lincoln LN-25 Wire Weider SIN U1981001158 $600.00
Lincoln LN.2S Wire Wekler SIN U1980419711 S600.00


                                                                               Page #2
 Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 16 of 19




Durable Tools worth less than $500.00
(3) I lir Milwaukee Rotary Hammer .DrillS ii4i/ cases and bits(S50000each) S1,500.00
(8)Ridgid 450 Tri-Stand Pipe Vices(S275.00ea) $2,20000
(2),Kerosene Heaters(5400.00 each) S800.00
(1) Lot Air Toob (Angle Grinders, Die Grinders, Air Chisels) $70000
(1)1,ot Fiberglass Ladders(Step Ladders,Extension Ladders) V.,000.00         •
(1)Lot Osain Lever Hoist(314T, 1 1/2T, 3T) V.,00000
(I)Lot Rigging Equipment(Clamps, Chokers, Plate Lifting Clamps) $.5,000.00
(1)Teat Equipment(M.eaSUring Equipmera,Paha Gauge, Calipers) $2,00000
(3)Wilwaukee Deep Cut Band SaWs($300.00 ea) S900.00
(1)bat(50)Electric Grinders Rambo,Milwalikee.,, Bost%) 55,000.00
(6)Yob Boxes(Wrious 0240 S24000.00
(10)Shop Box Farts(3500.00each) $5,000.00
(1)Lot of Vice Grip aad C-Clarnps SI.,000.00



Office Equipment
00)Moe Desk and Chairs $1.000,00
(1)8'Conference Table and(6)Chairs 51,20000
(9)-(4) Drawet Fffing Cabinets 5900.00
(4)Dell Dal Top Computers w/ Amin=and Printers $3,000.0C
(2)Desk Top Computers wl.Monitors and Primers 53,000.00
(2)Dell 1311,Tat-hurl* Lap Top Computer and Printer 52,400.00
(1)Dell 8000 Inspiron Lap Top Computer 51,000.00
(1)HP Designjet 800 2400 x 1200 DPI Printer set Stand 54,000.00
(I)BP Design* 120 NR Plotter w/Stand $2,500.00
(1)HIP Desigitier 650 Plotter ed &and $1,00000
(1)Toshiba-33P3580          Conier wl Document Feed 5500.00
(1)Norm& Telephone System w/(7)T7316E Phone Sets 52,000.00
(2)Brother IntelliFat 2820 Laser Fax Machine S400.00
(1)14.4anitowoc Ice Machine Series600 wi 400lb lee Box $800.00
(I)AutoCadLT 2008(5)Seat Pack. 54,000.00
(1)Plate'n'Sheet Development Pro software V4 51,145,00
(I)Dream Works(Web Site Denlopmetn Sofmre) 51,750.W


Trucks and Trailers
2003 Ford RangerEdge Truck VIM LFI-YR44V73PB4O651 $8,500.00
2002 Ford Ranger Edge Truck VD*1FTYR44V92PB25613 $7.000.00
2001 Ford F-350 Crew Cab Truck VINO IFTWW32F71EC69094 S11,500.00
1998 Chevrolet S,10 Pickup VIN# $3,50000
1997 Ford F-350 Crew Cab Truck VINO IFDJW35FIVEB79981(New Engioe) $7,500_03
1997 Ford F-350 Crew Cab Truek V1N* IFTJW35.F7VEA15624 56,50000
                                                                           Page #4
Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 17 of 19




1997 Ford F-350 Crew Cab Truck VINA IFT.IVI35F4VEB36501 S6,50000
1997 Ford F-350 Extended Cab Truck WNW 1FTJX35F2VEA70219 S6,500 00
1993 Ford Ranger Extended Cab Truck VIM IFICK14X6PTA02117 $3,000 00
1992 Ford F-350 Extended Cab Truck VIM IFIIX.35M7NKA09318 $4,500.00
1988 Chevrolet S-10 inthow VE‘1# 1GCCSia4.12186377 SI.500.00
2006 Shop Built 32'Flatbed Gooseneck Trailer VIN#ALOSEIM00100027232 56,500o0
2005 ,.ainderson 2:17 Flatbed Trager Vilitt triNBN=2.55CO29464 S2,500.00
Kentucky Manufacturing Co,48' Van            97128 ,500.00
Shop Built Fuel Trader S1.20000




Fabrication Tables and Stands
(5)Metal Fabrication Tables(S1,000eacb) S5,000.00
(50)Metal Work Stands Stands($45.00each) $2,Z50S)0
(20) Arrnistable Pine Jack Stands($7100etich) $4500.00



Inventory on Hand
(1)Lot ofassoned beam angle, channel., sheet, plats and pipe(carbon and stainless steel
Approx. 100,000 lbs Ca.30 pllb




Total Estimated Equipment and Inventory Value                              $1,033,480,00




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Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 18 of 19




                            SCHEDULE B



                     PERMITTED ENCUMBRANCES




                               None.
Case 1:18-cv-00968-GMB Document 1-2 Filed 11/15/18 Page 19 of 19




                                SCHEDULE C

                                      TO

                    GENERAL SECURITY AGREEMENT




              Offices Where Records Are Kept and Collateral Stored:

                             811 County Road 99
                           Headland, Alabama 36345
                                      Or
                             68] County Road 99
                           Headland, Alabama 36345
